Case 2:05-cr-20251-SH|\/| Document 9 Filed 07/08/05 Page 1 of 2 Page|D 13

UNITED sTATEs DISTRICT COURT F*LED E‘i’ flf§l:e.e.
wEsTERN DISTRICT oF TENNESSEE

 

Western Division 05 JUL °5 PH 2: 119
UNITED STATES OF AMERICA `L l ;bLD
saw . won
-Vs- Case No. J£':U§éij§![` l§V[a

GINA BELL

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

Y bi
DONE and ORDERED in 167 North Main, Memphis, this g day ofJuly, 2005 .

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

GINA BELL

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July l2, 2005 to the parties listed.

 

 

PDA

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l\/lemphis7 TN 38103

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Ste. 800

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Honorable Sarnuel Mays
US DISTRICT COURT

